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WEST VALLEY STAFFING GROUP
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

OAKLAND DIVISION
DEMETRIC DI-AZ, OWEN DIAZ and ) Case No. 17-cv-06748-SK
LAMAR PATTERSON )
) DEFENDANT WEST VALLEY
Plaintiffs ) STAFFING GROUP’S ANSWER TO
) PLAINTIFFS’ COMPLAINT FOR
V. ) DAMAGES
)
TESLA, INC. DBA TESLA MOTORS, )
INC.; CITISTAFF SOLUTIONS, INC,; ) Assigned to: Magistrate Judge Sallie Kim
WEST VALLEY STAFFING GROUP; ) Action Filed:
CHARTWELL STAFFING SERVICEDS, _ ) Trial Date: TBA
INC., )
)
Defendants )
)
)

 

 

 

Defendant WEST VALLEY STAFFING GROUP (“WEST VALLEY”) hereby responds
to the Complaint for Damages (“Complaint”) of Plaintiffs DEMETRIC DI-AZ (“DI-AZ”), OWEN
DIAZ (“DIAZ”) and LAMAR PATTERSON (“PATTERSON”)! as follows:

1. WEST VALLEY lacks sufficient information and belief with respect to the
allegations contained in Paragraphs 1, 8, 9, 14, 17, 18, 19, 20, 22, 23, 24, 25, 26, 31, 32, 33, 34,
35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 53, 54, 55, 56, 57, 58, 59, 60,
61, 62, 63, 64, 65, 66, 71, 72, 73, 74, 79, 84, 146, 152, 153, 154, 155, and 156 of the Complaint,

 

* DI-AZ, DIAZ and PATTERSON are collectively referred to herein as “PLAINTIFFS.”

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DEFENDANT WEST VALLEY STAFFING GROUP’S ANSWER... (Case No. 17-cv-06748-SK )

 
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and on that basis, denies each and every, generally and specifically, all and singularly, the
allegations contained in Paragraphs 1, 8, 9, 14, 17, 18, 19, 20, 22, 23, 24, 25, 26, 31, 32, 33, 34,
35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 53, 54, 55, 56, 57, 58, 59, 60,
61, 62, 63, 64, 65, 66, 71, 72, 73, 74, 79, 84, 146, 152, 153, 154, 155, and 156 of the Complaint.

2. Paragraphs 3, 4, 6, 11, 92, 93, 94, 95, 96, 97, 98, 100, 101, 102, 103, 104, 105, 106,
108, 109, 110, 111, 112, 113, 114, 115, 116, 117, 118, 119, 120, 121, 123, 124, 125, 126, 127,
128, 129, 130, 131, 132, 133, 134, 135, 136, 162, 163, 164, 165, 166, 167, 168, 169, 170, 172,
173, 174, 175, 176, 177, 178, 180, 181, 182, 183, 184, 185, 187, 188, 189, 190, 191, 192, 222,
223, 224, 225, 226, 227, 228, 229, 230 and 231 of the Complaint are not charging as to WEST
VALLEY, but, to the extent necessary, WEST VALLEY denies each and every, generally and
specifically, all and singularly, the allegations contained in Paragraphs 3, 4, 6, 11, 92, 93, 94, 95,
96, 97, 98, 100, 101, 102, 103, 104, 105, 106, 108, 109, 110, 111, 112, 113, 114, 115, 116, 117,
118, 119, 120, 121, 123, 124, 125, 126, 127, 128, 129, 130, 131, 132, 133, 134, 135, 136, 162,
163, 164, 165, 166, 167, 168, 169, 170, 172, 173, 174, 175, 176, 177, 178, 180, 181, 182, 183,
184, 185, 187, 188, 189, 190, 191, 192, 222, 223, 224, 225, 226, 227, 228, 229, 230 and 231 of the
Complaint.

3. WEST VALLEY denies the allegations contained in Paragraph 2 of the Complaint
to the extent they imply or allege that WEST VALLEY subjected PLAINTIFFS to “racially
motivated abuse, including the frequent use of racial slurs.” WEST VALLEY further denies the
allegations contained in Paragraph 2 of the Complaint to the extent they imply or allege that
PLAINTIFFS ever “complained” to WEST VALLEY regarding any alleged “racially motivated
abuse, including the frequent use of racial slurs.” WEST VALLEY lacks sufficient information
and belief with respect to the remaining allegations contained in Paragraph 2 of the Complaint,
and on that basis, denies each and every, generally and specifically, all and singularly, the
remaining allegations contained in Paragraph 2 of the Complaint.

4, WEST VALLEY admits the allegations contained in Paragraph 5 of the Complaint
that WEST VALLEY “is a staffing corporation with corporate offices in Sunnyvale, California,”

that WEST VALLEY “provides trained employees for short and long-term assignments to other

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businesses,” that WEST VALLEY’s “employees are sent to work at other business’ sites” and that
WEST VALLEY’s employees “receive paychecks from WEST VALLEY.” As to the allegations
contained in Paragraph 2 of the Complaint, which contain legal contentions and conclusions,
DEFENDANT is not required to respond. WEST VALLEY denies each and every, generally and
specifically, all and singularly, the remaining material allegations contained within Paragraph 2 of
the Complaint.

5. WEST VALLEY admits the allegations of Paragraph 7 of the Complaint that DI-
AZ became an employee of WEST VALLEY in August 2015 and that, at that time, DI-AZ was
placed on assignment with TESLA as a Production Associate. WEST VALLEY denies the
allegations contained in Paragraph 7 of the Complaint to the extent they imply or allege that
WEST VALLEY ever terminated DI-AZ’s employment. WEST VALLEY lacks sufficient
information and belief as to the remaining allegations contained in Paragraph 7 of the Complaint
and on that basis, denies each and every, generally and specifically, all and singularly, the
remaining allegations contained in Paragraph 7 of the Complaint.

6. As to the allegations contained in Paragraph 10 of the Complaint, which contain
legal contentions and conclusions, DEFENDANT is not required to respond. WEST VALLEY
lacks sufficient information and belief as to the remaining allegations contained in Paragraph 10 of
the Complaint and on that basis, denies each and every, generally and specifically, all and
singularly, the remaining material allegations contained within Paragraph 10 of the Complaint.

7. Answering Paragraph 12 of the Complaint, WEST VALLEY admits that
jurisdiction and venue are proper in this Court. The statutory provisions speak for themselves and
no answer is required as to PLAINTIFFS’ allegations concerning said statutory provisions.

8. Answering Paragraph 13 of the Complaint, WEST VALLEY admits that venue is
proper in the Oakland Division of the Northern District of California. To the extent Paragraph 13
of the Complaint contains legal contentions and conclusions, WEST VALLEY is not required to
respond.

9. WEST VALLEY admits the allegations contained in Paragraph 15 of the

Complaint to the extent they allege that DI-AZ was hired by WEST VALLEY and that his start

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date was August 24, 2015. WEST VALLEY denies the allegations contained in Paragraph 15 of
the Complaint to the extent they allege that DI-AZ’s employment with WEST VALLEY was
anything other than “at will.” WEST VALLEY lacks sufficient information and belief with
respect to the remaining allegations contained in Paragraph 15 of the Complaint, and on that basis,
denies each and every, generally and specifically, all and singularly, the remaining allegations
contained in Paragraph 15 of the Complaint.

10. WEST VALLEY admits the allegations contained in Paragraph 16 of the
Complaint that DI-AZ’s assignment with TESLA as a Production Associate commenced in
August 2015. WEST VALLEY lacks sufficient information and belief with respect to the
remaining allegations contained in Paragraph 16 of the Complaint and on that basis, denies each
and every, generally and specifically, all and singularly, the remaining allegations of Paragraph 16
of the Complaint.

11. | Answering the allegations of Paragraph 21 of the Complaint, WEST VALLEY
denies each and every, generally and specifically, all and singularly, the allegations contained in
Paragraph 21 of the Complaint.

12. Answering Paragraphs 27, 28, 30, 67, 68, 70, 75, 76, 78, 86, 87, 88, 89, 90, 138,
141, 142, 143, 144, 149, 158, 159, 160, 197, 198, 199, 203, 204, 205, 209, 210, 211, 212, 218, 219
and 220 of the Complaint, said paragraphs contain legal contentions or conclusions and no answer
is required as to said legal contentions or conclusions. WEST VALLEY denies each and every,
generally and specifically, all and singularly, the remaining material allegations contained in
Paragraphs 27, 28, 30, 67, 68, 70, 75, 76, 78, 86, 87, 88, 89, 90, 138, 141, 142, 143, 144, 149, 158,
159, 160, 197, 198, 199, 203, 204, 205, 209, 210, 211, 212, 218, 219 and 220 of the Complaint.

13. Answering Paragraphs 29, 69, 77 and 157 of the Complaint, the cited statutory
provisions speak for themselves and no answer is required as to PLAINTIFFS’ allegations
concerning said statutory provisions. As to those portions of Paragraphs 29, 69, 77 and 157 of the
Complaint which contain legal contentions or conclusions, no answer is required as to said legal
contentions or conclusions. WEST VALLEY denies each and every, generally and specifically,

all and singularly, the remaining material allegations contained in Paragraphs 29, 69, 77 and 157

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of the Complaint.

14. Answering Paragraph 80, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs | through 79, hereinbefore, as though fully set forth herein.

15. | WEST VALLEY denies the allegations contained in Paragraph 81 of the Complaint
that DI-AZ was ever in a “contractual relationship with” WEST VALLEY. As to those portions
of Paragraph 81 of the Complaint which contain references to statutory provisions, the cited
statutory provisions speak for themselves and no answer is required. As to those portions of
Paragraph 81 of the Complaint which contain legal contentions or conclusions, no answer is
required as to said legal contentions or conclusions. WEST VALLEY lacks sufficient information
and belief as to the remaining allegations of Paragraph 81 of the Complaint, and on that basis,
denies each and every, generally and specifically, all and singularly, the remaining allegations
contained in Paragraph 81 of the Complaint.

16. WEST VALLEY denies the allegations contained in Paragraph 82 of the Complaint
to the extent they imply or allege that WEST VALLEY ever entered into an “employment
contract” with any of the PLAINTIFFS. WEST VALLEY further denies the allegations contained
in Paragraph 82 that WEST VALLEY “violated” the rights of any of the PLAINTIFFS relative to
any alleged (non-existent) “employment contract.” As to those portions of Paragraph 82 of the
Complaint which contain legal contentions or conclusions, no answer is required as to said legal
contentions or conclusions. WEST VALLEY lacks sufficient information and belief as to the
remaining allegations contained in Paragraph 82 of the Complaint, and on that basis, denies each
and every, generally and specifically, all and singularly, the remaining allegations contained in
Paragraph 82 of the Complaint.

17. | WEST VALLEY denies the allegations contained in Paragraph 83 of the Complaint
to the extent they imply or allege that any of the PLAINTIFFS ever made any “reports and
complaints” of “racial harassment” or of a “hostile work environment” to WEST VALLEY.
WEST VALLEY further denies the allegations of Paragraph 83 of the Complaint to the extent
they imply or allege that WEST VALLEY ever issued DI-AZ “a written warning based on false

allegations” or that WEST VALLEY ever “approve[d]” of any alleged “retaliatory termination” of

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DI-AZ. WEST VALLEY lacks sufficient information and belief with respect to the remaining
allegations of Paragraph 83 of the Complaint, and on that basis, denies each and every, generally
and specifically, all and singularly, the remaining allegations of Paragraph 83 of the Complaint.

18. WEST VALLEY denies the allegations of Paragraph 85 of the Complaint that
WEST VALLEY “failed to prevent” any alleged “racially harassing and retaliatory behavior
directed at” any of the PLAINTIFFS, as well as “others.” WEST VALLEY further denies the
allegations of Paragraph 85 of the Complaint to the extent they imply or allege that DI-AZ was
ever “terminated” by WEST VALLEY. WEST VALLEY lacks sufficient information and belief
with respect to the remaining allegations of Paragraph 85 of the Complaint and on that basis,
denies each and every, generally and specifically, all and singularly, the remaining allegations of
Paragraph 85 of the Complaint.
19. | Answering Paragraph 91, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs 1 through 90, hereinbefore, as though fully set forth herein.
20. Answering Paragraph 99, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs 1 through 98, hereinbefore, as though fully set forth herein.
21. Answering Paragraph 107, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs | through 106, hereinbefore, as though fully set forth herein.
22. Answering Paragraph 122, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs 1 through 121, hereinbefore, as though fully set forth herein.
23. Answering Paragraph 137, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs 1 through 136, hereinbefore, as though fully set forth herein.
24. Answering the allegations of Paragraph 139, 140, 151, 207 and 208 of the
Complaint, said allegations are vague, ambiguous and unintelligible. On that basis, WEST
VALLEY denies each and every, generally and specifically, all and singularly, the allegations of
Paragraphs 139, 140, 151, 207 and 208 of the Complaint.

25. Answering Paragraph 145, WEST VALLEY te-alleges and incorporates by
reference its responses to Paragraphs | through 144, hereinbefore, as though fully set forth herein.

26. WEST VALLEY admits the allegations of Paragraph 147 that DI-AZ was

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employed by WEST VALLEY effective August 24, 2015. WEST VALLEY lacks sufficient
information and belief with respect to the remaining allegations of Paragraph 147 of the
Complaint and on that basis, denies each and every, generally and specifically, all and singularly,
the remaining allegations of Paragraph 147 of the Complaint.

27. WEST VALLEY denies the allegations of Paragraph 148 of the Complaint to the
extent they imply or allege that DI-AZ ever “reported” any alleged “racially harassing and
discriminatory behavior” to WEST VALLEY, including any alleged “threat to terminate his
employment for his refusal to endure the daily racial harassment. As to those portions of
Paragraph 148 of the Complaint that contain legal contentions or conclusions, no answer is
required as to said legal contentions or conclusions. WEST VALLEY lacks sufficient information
and belief with respect to the remaining allegations of Paragraph 148 of the Complaint and on that
basis, denies each and every, generally and specifically, all and singularly, the remaining
allegations of Paragraph 148 of the Complaint.

28. Answering the allegations of Paragraph 150 of the Complaint, WEST VALLEY
denies each and every, generally and specifically, all and singularly, the allegations of Paragraph
150 of the Complaint.

29. Answering Paragraph 161, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs 1 through 160, hereinbefore, as though fully set forth herein.
30. | Answering Paragraph 171, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs 1 through 170, hereinbefore, as though fully set forth herein.
31. Answering Paragraph 179, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs | through 178, hereinbefore, as though fully set forth herein.
32. Answering Paragraph 186, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs 1 through 185, hereinbefore, as though fully set forth herein.
33. | Answering Paragraph 193, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs 1 through 192, hereinbefore, as though fully set forth herein.

34. Answering the allegations of Paragraph 194 of the Complaint, WEST VALLEY

denies each and every, generally and specifically, all and singularly, the allegations of Paragraph

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194 of the Complaint.

35. | Answering the allegations of Paragraph 195 of the Complaint, WEST VALLEY
denies each and every, generally and specifically, all and singularly, the allegations of Paragraph
195 of the Complaint.

36. Answering the allegations of Paragraph 196 of the Complaint, WEST VALLEY
denies each and every, generally and specifically, all and singularly, the allegations of Paragraph
196 of the Complaint.

37. | Answering Paragraph 200, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs 1 through 199, hereinbefore, as though fully set forth herein.

38. | WEST VALLEY denies the allegations of Paragraph 201 of the Complaint that
“PLAINTIFFS complained repeatedly to” WEST VALLEY about any “constant racial abuse” that
they allegedly “received on a daily basis” or that PLAINTIFFS ever “made clear” to WEST
VALLEY that Plaintiffs had suffered “racial harassment” which caused “distress, humiliation, and
suffering.” WEST VALLEY lacks sufficient information and belief with respect to the remaining
allegations of Paragraph 201 of the Complaint, and on that basis, denies each and every, generally
and specifically, all and singularly, the remaining allegations of Paragraph 201 of the Complaint.

39. Answering the allegations of Paragraph 202 of the Complaint, WEST VALLEY
denies each and every, generally and specifically, all and singularly, the allegations of Paragraph
202 of the Complaint.

40. | Answering Paragraph 206, WEST VALLEY re-alleges and‘incorporates by
reference its responses to Paragraphs 1 through 205, hereinbefore, as though fully set forth herein.

41. | DEFENDANT denies the allegations of Paragraph 207 of the Complaint that
DEFENDANT “knew or reasonably should have known through reasonable investigation of some
of its agents and/or employees’ propensity for unlawful racially harassing and physical aggressive
behavior.” DEFENDANT lacks sufficient information and belief with respect to the remaining
allegations of Paragraph 207 of the Complaint, and on that basis, denies each and every, generally
and specifically, all and singularly, the remaining allegations of Paragraph 207 of the Complaint.

42. DEFENDANT denies the allegations of Paragraph 208 of the Complaint that

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DEFENDANT “had a duty not to hire or retain” certain unnamed “employees/agents” on the
purported basis that said unnamed “employees/agents” possessed “wrongful, dangerous, and
racially offensive propensities.” DEFENDANT further denies the allegations of Paragraph 208 of
the Complaint to the extent they imply or allege that DEFENDANT failed “to provide reasonable
supervision” of certain unnamed “employees/agents” and further that said certain unnamed
“employees/agents” of DEFENDANT engaged in conduct which was or could be considered
wrongful, dangerous or racially offensive. DEFENDANT lacks sufficient information and belief
with respect to the remaining allegations of Paragraph 208 of the Complaint, and on that basis,
denies each and every, generally and specifically, all and singularly, the remaining allegations of
paragraph 208 of the Complaint.

43. | DEFENDANT denies the allegations of Paragraph 209 of the Complaint that
DEFENDANT “negligently hired, retained and/or failed to adequately supervise” certain unnamed
“employees/agents,” that certain unnamed “employees/agents” of DEFENDANT “committed the
wrongful acts” alleged in the Complaint and that DEFENDANT “failed to provide reasonable
supervision” of these certain unnamed “employees/agents.” DEFENDANT further denies the
allegations of Paragraph 209 of the Complaint to the extent they imply or allege that
DEFENDANT knew or was aware of any “propensities” of certain unnamed “employees/agents”
to commit any “wrongful acts” or that DEFENDANT knew or was aware that certain unnamed
“employees/agents” had had “complaints made against them” for any “wrongful acts.”
DEFENDANT lacks sufficient information and belief with respect to the remaining allegations of
Paragraph 209 of the Complaint, and on that basis, denies each and every, generally and
specifically, all and singularly, the remaining allegations of Paragraph 209 of the Complaint.

44. Answering Paragraph 213, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs 1 through 212, hereinbefore, as though fully set forth herein.

45. | WEST VALLEY denies the allegations of Paragraph 214 of the Complaint that
WEST VALLEY “punished” DI-AZ “by terminating” DI-AZ’s “employment.” WEST VALLEY
further denies the allegations of Paragraph 214 of the Complaint that WEST VALLEY ever

“terminat[ed]” DI-AZ. WEST VALLEY lacks sufficient information and belief with respect to

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the remaining allegations of Paragraph 214 of the Complaint, and on that basis, denies each and

every, generally and specifically, all and singularly, the remaining allegations of Paragraph 214 of

the Complaint.

46. WEST VALLEY denies the allegations of Paragraph 215 of the Complaint that
WEST VALLEY ever “stated that [DI-AZ] should be terminated for performance issues.” WEST
VALLEY further denies the allegations of Paragraph 215 of the Complaint to the extent they
imply or allege that WEST VALLEY terminated DI-AZ’s employment and that the purported
basis for any alleged (non-existent) termination of DI-AZ’s employment “was merely a pretext.”
WEST VALLEY lacks sufficient information and belief with respect to the remaining allegations
of Paragraph 215 of the Complaint, and on that basis, denies each and every, generally and
specifically, all and singularly, the remaining allegations of Paragraph 215 of the Complaint.

47. Answering the allegations of Paragraph 216 of the Complaint, WEST VALLEY
denies each and every, generally and specifically, all and singularly, the allegations of Paragraph
216 of the Complaint.

48. WEST VALLEY denies the allegations of Paragraph 217 of the Complaint to the
extent they imply or allege that WEST VALLEY ever made a “decision to terminate” DI-AZ’s
“employment.” As WEST VALLEY never made a “decision to terminate” DI-AZ’s
“employment,” WEST VALLEY further denies the allegations of Paragraph 217 of the Complaint
that any such nonexistent “decision to terminate” was “based on discriminatory motives,” that any
such nonexistent “decision to terminate” “was contrary to the policies, rules, regulations, and laws
of the State of California” and that any such nonexistent “decision to terminate” “constituted an
unlawful termination under California law.” As to the cited statutory provisions, said cited
statutory provisions speak for themselves and no answer is required as to PLAINTIFFS’
allegations concerning said statutory provisions. To the extent Paragraph 217 of the Complaint
contains legal contentions and conclusions, WEST VALLEY is not required to respond to said
legal contentions and conclusions. WEST VALLEY lacks sufficient information and belief as to
the remaining allegations of Paragraph 217 of the Complaint, and on that basis, denies each and

every, generally and specifically, all and singularly, the remaining allegations of Paragraph 217 of

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the Complaint.

49. Answering Paragraph 221, WEST VALLEY re-alleges and incorporates by
reference its responses to Paragraphs 1 through 220, hereinbefore, as though fully set forth herein.

50. With regard to PLAINTIFFS’ Request for Relief, DEFENDANT denies that such
relief is either appropriate or justified in the circumstances of this case.

51. Answering all other Paragraphs of the Complaint, DEFENDANT denies each and
every, generally and specifically, all and singularly, the allegations of these paragraphs, and the
whole thereof.

AFFIRMATIVE DEFENSES TO ALL CAUSES OF ACTION

AS AND FOR A FIRST, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
WEST VALLEY alleges that PLAINTIFFS’ Complaint, and each cause of action therein, fails to
state facts sufficient to constitute any cause of action.

AS AND FOR A SECOND, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
WEST VALLEY alleges that PLAINTIFFS’ Complaint is barred by the applicable statute of
limitation, including but not limited to, those enumerated in California Code of Civil Procedure
Sections 335.1, 338, 340, 343 and 361, California Government Code Section 12965 and 28 U.S.C.
Section 1658. .

AS AND FOR A THIRD, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
WEST VALLEY alleges that the relief sought by PLAINTIFFS is barred due to the acts, conduct,
and omissions of PLAINTIFFS which constitute waiver.

AS AND FOR A FOURTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
WEST VALLEY alleges that the relief sought by PLAINTIFFS is barred due to the acts, conduct,
and omissions of Plaintiff which constitute estoppel.

AS AND FOR A FIFTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
WEST VALLEY alleges that the relief sought by PLAINTIFFS is barred due to the acts, conduct,
and omissions of PLAINTIFFS which constitute laches.

AS AND FOR A SIXTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,

WEST VALLEY alleges that the relief sought by PLAINTIFFS is barred due to the acts, conduct,

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and omissions of Plaintiff which constitute unclean hands.

AS AND FOR A SEVENTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
WEST VALLEY alleges that PLAINTIFFS’ Complaint, and each cause of action contained
therein, is barred because PLAINTIFFS would be unjustly enriched by receipt of any recovery
prayed for in the Complaint.

AS AND FOR AN EIGHTH SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
WEST VALLEY alleges that any of WEST VALLEY’S conduct towards PLAINTIFFS was
justified and privileged.

AS AND FOR A NINTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
WEST VALLEY alleges that any loss or damage suffered by PLAINTIFFS was caused in whole
or in part, by PLAINTIFFS’ own conduct, acts or omissions.

AS AND FOR A TENTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
WEST VALLEY alleges that PLAINTIFFS’ claim for attorney’s fees is barred as improper
because there is no alleged basis either in contract or by statute for the recovery of attorney's fees
against this Defendant.

AS AND FOR AN ELEVENTH SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFS’ Complaint, and each cause of action
therein, is uncertain, ambiguous, and unintelligible as it pertains to WEST VALLEY.

AS AND FOR A TWELFTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
WEST VALLEY alleges that PLAINTIFFS’ Complaint, and each cause of action therein, is
barred because WEST VALLEY is an improper party and/or wrongly joined in this action.

AS AND FOR A THIRTEENTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS had no probable cause for bringing any
action against this answering Defendant.

AS AND FOR A FOURTEENTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS’ Complaint, and each cause of action
thereof, are barred in whole or in part because PLAINTIFFS have sustained no injury or damage

by reason of acts or omissions of WEST VALLEY.

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AS AND FOR A FIFTEENTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that should PLAINTIFFS recover from WEST VALLEY,
WEST VALLEY is entitled to indemnification, either in whole or in part, from all persons or
entities whose negligence and/or fault proximately contributed to PLAINTIFFS’ damages, if any
there were.

AS AND FOR A SIXTEETH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
WEST VALLEY alleges that there was no unity of interest between Defendants.

AS AND FOR A SEVENTEENTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS’ Complaint is barred because
PLAINTIFFS failed to exhaust their administrative remedies.

AS AND FOR AN EIGHTEENTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS’ Complaint is barred because WEST
VALLEY never terminated any PLAINTIFFS’ employment.

AS AND FOR A NINETEENTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY, without admitting that it engaged in or made any of the acts,
conduct, or statements attributed to it in the Complaint, alleges that PLAINTIFFS’ Complaint fails
to state facts sufficient to constitute any cause of action because, to the extent any of the
PLAINTIFFS’ were employed by WEST VALLEY, PLAINTIFFS’ employment was terminable
at will.

AS AND FOR A TWENTIETH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY, without admitting that it engaged in or made any of the acts,
conduct, or statements attributed to it in the Complaint, alleges that PLAINTIFFS have failed and
refused to exercise a reasonable effort to obtain other employment in an effort to mitigate their
damages.

AS AND FOR A TWENTY-FIRST, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY, without admitting that it engaged in or made any of the acts,
conduct, or statements attributed to it in the Complaint, alleges that PLAINTIFFS breached their

duty to minimize their losses and mitigate their damages by failing to make reasonable efforts to

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find comparable work. As such, any amount that PLAINTIFFS could reasonably have earned by
obtaining comparable work through reasonable efforts must be offset from the damages, if any,
awarded to PLAINTIFFS.

AS AND FOR A TWENTY-SECOND, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY, without admitting that it engaged in or made any of the acts,
conduct, or statements attributed to it in the Complaint, alleges that it has taken reasonable care to
prevent and promptly correct any discriminatory behavior through its policies and procedures.

AS AND FOR A TWENTY-THIRD, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS’ claim for punitive damages against
WEST VALLEY is barred by the provisions of Civil Code Section 3294. WEST VALLEY is not
liable for the acts of any employees/agents because WEST VALLEY did not have advance
knowledge of any unfitness in any employee/agent and did not employ any employee/agent with a
conscious disregard of the rights and safety of others. Further, WEST VALLEY did not authorize
or ratify any alleged wrongful conduct. In addition, WEST VALLEY is not personally guilty of
oppression, fraud, or malice.

AS AND FOR A TWENTY-FOURTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY, without admitting that it engaged in or made any of the acts,
conduct, or statements attributed to it in the Complaint, alleges that PLAINTIFFS were terminated
for legitimate, non-discriminatory, non-prohibited reasons or for good cause.

AS AND FOR A TWENTY-FIFTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY, without admitting that it engaged in or made any of the acts,
conduct, or statements attributed to it in the Complaint, alleges that PLAINTIFFS’ damages, if
any, should be reduced, in whole or in part, by PLAINTIFFS’ failure to avoid the consequences of
alleged harassment by using the preventive and corrective measures provided by the employer.

AS AND FOR A TWENTY-SIXTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY, without admitting that it engaged in or made any of the acts,
conduct or statements attributed to it in the Complaint, alleges that if any of its employees or

agents engaged in unlawful discrimination or harassing behavior toward PLAINTIFFS, WEST

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VALLEY is not liable for the discrimination and/or harassment.

AS AND FOR A TWENTY-SEVENTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY, without admitting that it engaged in or made any of the acts,
conduct or statements attributed to it in the Complaint, alleges that PLAINTIFFS may not obtain
any of the relief requested in the Complaint because any adverse employment action, if at all, was
taken against PLAINTIFF based on legitimate, non-discriminatory factors other than
PLAI’ TIFFS’ alleged race or any protected activity.

AS AND FOR A TWENTY-EIGHTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS’ claim for punitive damages against
WEST VALLEY is barred by WEST VALLEY’S adoption, publication and enforcement of a
policy against the discrimination, harassment and retaliation of the type alleged in the Complaint.

AS AND FOR A TWENTY-NINTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS’ Complaint is barred because any
damages suffered by Plaintiff were proximately caused by conduct, acts, or omissions of other
individuals or entities over which this answering Defendant had no responsibility or control.

AS AND FOR A THIRTIETH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS’ Complaint violates Defendant’s right to
protection from excessive fines as provided in the Eighth Amendment to the U.S. Constitution and
Article I, Section 6 of the Constitution of the State of California and therefore fails to state a cause
of action upon which punitive or exemplary damages may be awarded.

AS AND FOR A THIRTY-FIRST, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS’ Complaint violates WEST VALLEY’S
right to due process as provided in the Fifth and Fourteenth Amendments to the U.S. Constitution
and Article I, Section 13 of the Constitution of the State of California and therefore fails to state a
cause of action upon which punitive or exemplary damages may be awarded.

AS AND FOR A THIRTY-SECOND, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that the punitive damages sought by PLAINTIFFS are

barred because there is no allegation of sufficient facts to warrant an award of punitive damages.

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AS AND FOR A THIRTY-THIRD, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS may not obtain the relief requested in the
Complaint because PLAINTIFFS did not suffer emotional distress to such substantial quantity or
induced quality that no reasonable man in a civilized society should be expected to endure.

AS AND FOR A THIRTY-FOURTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY, without admitting that it engaged in or made any of the acts,
conduct or statements attributed to it in the Complaint, alleges that to the extent any of its
employees or agents engage in any unlawful or discriminatory behavior, the alleged unlawful or
discriminatory acts were committed outside the course and scope of employment.

AS AND FOR A THIRTY-FIFTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY, without admitting that it engaged in or made any of the acts,
conduct or statements attributed to it in the Complaint, alleges that if it is found that WEST
VALLEY’S actions were motivated by both discriminatory and nondiscriminatory reasons, the
legitimate nondiscriminatory reasons alone would have induced WEST VALLEY to make the
same decision regarding PLAINTIFFS’ employment.

AS AND FOR A THIRTY-SIXTH, SEAPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS’ claims are barred to the extent they
infringe on WEST VALLEY’S constitutional rights under the provisions of the United States and
California Constitutions.

AS AND FOR A THIRTY-SEVENTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS’ Seventh Cause of Action for
Whistleblower Retaliation is barred against WEST VALLEY because PLAINTIFFS have not
alleged, nor can PLAINTIFFS establish: 1) that WEST VALLEY made, adopted, or enforced any
tule, regulation, or policy preventing PLAINTIFFS from disclosing information to a government
or law enforcement agency; 2) that WEST VALLEY made, adopted, or enforced any rule,
regulation or policy preventing PLAINTIFFS from disclosing information to a person with
authority over PLAINTIFFS; 3) that WEST VALLEY made, adopted, or enforced any rule,

regulation or policy preventing PLAINTIFFS from disclosing information to another employee of

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WEST VALLEY with the authority to investigate, discover, or correct any alleged violation or
noncompliance; or 4) that WEST VALLEY made, adopted, or enforced any rule, regulation or
policy preventing PLAINTIFFS from providing information to, or testifying before, any public
body conducting an investigation, hearing, or inquiry, based upon any alleged belief of
PLAINTIFFS that the information disclosed a violation of state or federal statute, or a violation of
or noncompliance with a local, state, or federal rule or regulation, regardless of whether disclosing
the information was part of the PLAINTIFFS’ job duties.

AS AND FOR A THIRTY-EIGHTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS’ Seventh Cause of Action for
Whistleblower Retaliation is barred against WEST VALLEY because PLAINTIFFS have not
alleged, nor can PLAINTIFFS establish: 1) that WEST VALLEY retaliated against PLAINTIFFS
for disclosing information; 2) that WEST VALLEY retaliated against PLAINTIFFS because
WEST VALLEY believed that PLAINTIFFS disclosed or may have disclosed information, to a
government or law enforcement agency; 3) that WEST VALLEY retaliated against PLAINTIFFS
because WEST VALLEY believed that PLAINTIFFS disclosed or may have disclosed
information, to a person with authority over PLAINTIFFS; 4) that WEST VALLEY retaliated
against PLAINTIFFS because WEST VALLEY believed that PLAINTIFFS disclosed or may
have disclosed information, to another employee of WEST VALLEY who has the authority to
investigate, discover, or correct the violation or noncompliance; or 5) that WEST VALLEY
retaliated against PLAINTIFFS for providing information to, or testifying before, any public body
conducting an investigation, hearing, or inquiry, based upon any alleged belief of PLAINTIFFS
that the information disclosed a violation of state or federal statute, or a violation of or
noncompliance with a local, state, or federal rule or regulation, regardless of whether disclosing
the information was part of the PLAINTIFFS’ job duties.

AS AND FOR A THIRTY-NINTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAINTIFFS’ Seventh Cause of Action for
Whistleblower Retaliation is barred against WEST VALLEY because PLAINTIFFS have not

alleged, nor can PLAINTIFFS establish that WEST VALLEY, or any person acting on WEST

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VALLEY’S behalf, retaliated against PLAINTIFFS for refusing to participate in an activity that
would result in a violation of state or federal statute, or a violation of or noncompliance with a
local, state, or federal rule or regulation.

AS AND FOR A FORTIETH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
WEST VALLEY alleges that PLAINTIFFS lack standing to bring one or more of the cause of
action stated in the Complaint.

AS AND FOR A FORTY-FIRST, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, WEST VALLEY alleges that PLAITNIFFS’ First Cause of Action for Racial
Discrimination, Harassment, Retaliation, failure to Prevent Constructive and Wrongful
Termination in Violation of 42 U.S.C. Section 1981 is barred against WEST VALLEY because
that claim does not apply to any alleged contract between PLAINTIFFS and WEST VALLEY.

PRAYER

WHEREFORE, Defendant WEST VALLEY STAFFING GROUP seeks such relief as may
be appropriate, including judgment in favor of Defendant WEST VALLEY STAFFING GROUP
and against Plaintiffs DEMETRIC DI-AZ, OWEN DIAZ and LAMAR PATTERSON as follows:

1. That PLAINTIFFS’ Complaint be demised with prejudice in its entirety;

2. That PLAINTIFFS take nothing by way of their Complaint;

3. For an award of reasonable attorneys’ fees, litigation expenses, and costs of suit; and

4. For such other further relief that the Court deems just and proper.

DATED: December 4, 2017 PAHL & McCAY
A Professional Law Corporation

By: /s/ Helene A. Simvoulakis
Helene A. Simvoulakis, Esq.

Attorneys for Defendant
WEST VALLEY STAFFING GROUP

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